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         In The United States Court of Federal Claims
                                             No. 09-242L

                                        (Filed: July 30, 2010)
                                              __________
 LOIS A. BURGESS, MARY VAN ELLEN and
 ADELINE M. JOHNSON, for themselves and as
 representatives of a class of similarly situated
 persons,

                        Plaintiffs,

         v.

 THE UNITED STATES,

                        Defendant.
                                              _________

                                              ORDER
                                             __________

         On July 29, 2010, defendant filed an unopposed motion to extend the time to file its reply
brief in support of its motion for miscellaneous relief. Defendant’s motion is hereby GRANTED,
and the schedule shall be modified as follows:

       1.      On or before August 16, 2010, defendant shall file its reply brief in
               support of its motion for miscellaneous relief concerning plaintiffs’
               claim book; and

       2.      On or before August 23, 2010, the parties shall file a joint status report
               summarizing any stipulations regarding liability and proposing a
               further schedule of proceedings in this case.

       IT IS SO ORDERED.



                                                                 s/ Francis M. Allegra
                                                                 Francis M. Allegra
                                                                 Judge
